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IN THE UNITED STATES DISTRICT COURT f j ~ 493 '
FOR THE WESTERN DISTRICT OF TENNESSEE ,5;;.\ :;i-/p lp `»\
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KEVIN s. TAYLOR, ) §§ <%)a§§ _ O(_.,
) C:,?'"-, /C.;L/J
Plaintifr, ) §§ x
)
v. ) NO. 03-1188 T/An
)
HOWARD COOK, et al., )
)
Defendants. )

 

ORDER DENYING MOTION TO COMPEL DISCOVERY

 

Before the Court is Plaintiff’s Motion to Compel Discovery filed on February 25, 2005.
Defendants responded to the Motion on April ll, 2005. For the reasons set forth below, the
Motion is DENIED.

Plaintiff filed the instant Motion to Compel requesting that the Court order Defendants to
produce various documents to Plaintiff. Plaintiff is a prisoner at the Northwest Correctional
Complex Who filed this § 1983 claim alleging that Defendants violated his constitutional rights.
On April 22, 2004, Plaintiff served Defendants With Requests for Production of Docurnents.
Defendants responded to the discovery requests, but Plaintiff argues that Defendants’ responses
are insufficient Plaintiff made twelve requests for production, and Defenclants responded in full
to Request Nos. 3, 4, and 9.

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1). Relevancy means that the evidence

“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.

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26(b)(1); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret Whether evidence is relevant. See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12 (1978) (quoting 4 J. Moore, Federal Practz'ce § 26.96[1], at 26-131 n.34
(2d ed. 1976)).

Request No. 1 requests that Defendants produce previous grievances and the like from
other inmates from 1995 to the present Grievances, complaints and the like filed by other
inmates are not relevant to Plaintiff' s claims, since this information Will not lead to the discovery
of admissible evidence. Moreover, this request is overly broad and would cause undue burden
and expense on Defendants. Therefore, With respect to Request No. 1, the Motion is DENIED.

Request No. 2 requests logs, lists and the like filed by other inmates from 1995 to the
present Similar to Request No. 1, this information will not lead to the discovery of admissible
evidence Moreover, this request is overly broad and would cause undue burden and expense on
Defendants. Therefore, with respect to Request No. 2, the Motion is DENIED.

Request No. 12 requests “any and all documentation that Will/shall be used by the legal
attomey(s) on behalf of the defendant . . . pertaining to this case . . . .” Defendants have relied on
the attorney-client privilege and the work product doctrine in not responding to this request The
party raising a privilege has the burden of establishing the existence of the privilege. Fed. R.
Civ. P. 26(b)(5). The objection must include sufficient information so that the Court and
opposing counsel can assess the applicability of the privilege Watts v. Federal Express Corp. ,
No. 99-CV-701, 2001 WL 1661474, at *6 (W.D. Mich. Apr. 11, 2001); Meridan Diagonostics,
Inc. v. Yz'., No. C-1-00-540, 2001 WL 1842463, at *9-10 (S.D. Ohio Mar. 9, 2001) (holding that a

privilege log is required to assess the applicability of the privilege). In this case, the Court is

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satisfied With Defendants’ reliance on the attorney-client privilege and work product doctrine;
therefore, Defendants are not required to produce these documents to Plaintiff. With respect to
Request No. 12, the Motion is DENIED.

ln response to Request Nos. 5, 6, 7, 8, 10, and 11, Defendants produced responsive
documents dated after 2003; however, Defendants did not produce documents for the requests
dated before 2003, when Plaintiff’ s allegations arose, because the documents are not relevant and
Will not lead to the discovery of admissible evidence The Court agrees With Defendants and
concludes that the documents dated prior to 2003 are not relevant to these proceedings; therefore,
any further production for Request Nos. 5, 6, 7, 8, 10, and 11 is not required The Motion to
Cornpel is therefore DENIED.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: m /JB, Z.<>cu/

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This notice confirms a copy of the document docketed as number 35 in
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Honorable .l ames Todd
US DISTRICT COURT

